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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                                 WACO DIVISION


 WSOU INVESTMENTS, LLC D/B/A                  §
 BRAZOS LICENSING AND                         §     CIVIL ACTION 6:20-cv-00923-ADA
 DEVELOPMENT,                                 §     CIVIL ACTION 6:20-cv-00924-ADA
           Plaintiff,                         §     CIVIL ACTION 6:20-cv-00925-ADA
                                              §     CIVIL ACTION 6:20-cv-00926-ADA
 v.                                           §     CIVIL ACTION 6:20-cv-00927-ADA
                                              §
 NEC CORPORATION,                             §
          Defendant.                          §
                                              §


                  PLAINTIFF’S MOTION TO SUBSTITUTE COUNSEL

TO THE HONORABLE JUDGE OF SAID COURT:

       Pursuant to the Federal Rules of Civil Procedure, Isaac P. Rabicoff with the law firm of

Rabicoff Law LLC asks the Court to allow him to withdraw and to permit substitution of counsel

for Plaintiff WSOU Investments, LLC d/b/a Brazos Licensing and Development.

                                               I.

       Isaac P. Rabicoff with the law firm of Rabicoff Law LLC asks the Court to allow him to

withdraw as counsel for Plaintiff WSOU Investments, LLC d/b/a Brazos Licensing and

Development and to allow attorneys Jonathan K. Waldrop, Darcy L. Jones, Marcus A. Barber,

John W. Downing, Heather S. Kim, Jack Shaw, ThucMinh Nguyen and Paul G. Williams with the

law firm of Kasowitz Benson Torres LLP, and Mark D. Siegmund with the law firm of Walt Fair,

PLLC, to substitute as counsel for Plaintiff WSOU Investments, LLC d/b/a Brazos Licensing and

Development. Substituted counsel’s state bar numbers, office address, e-mail addresses, telephone

number, and fax number are as follows:
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                                               II.

       Plaintiff WSOU Investments, LLC d/b/a Brazos Licensing and Development consents to

and approves the withdrawal and substitution of counsel. The withdrawal and substitution will not

delay these proceedings.

                                               III.

       WHEREFORE, PREMISES CONSIDERED, Isaac P. Rabicoff with the law firm of

Rabicoff Law LLC asks the Court to grant this request for him to withdraw as counsel for Plaintiff

WSOU Investments, LLC d/b/a Brazos Licensing and Development and allow Jonathan K.

Waldrop, Darcy L. Jones, Marcus A. Barber, John W. Downing, Heather S. Kim, Jack Shaw,

ThucMinh Nguyen and Paul G. Williams with the law firm of Kasowitz Benson Torres LLP, and

Mark D. Siegmund with the law firm of Walt Fair, PLLC, to substitute as counsel for Plaintiff

WSOU Investments, LLC d/b/a Brazos Licensing and Development and that all future

correspondence, whether by the Court or other counsel, be directed to said attorneys with Kasowitz

Benson Torres LLP and to Walt Fair, PLLC, and for general relief in law and in equity.


Dated: December 31, 2020
                                                     By: /s/ Isaac P. Rabicoff
                                                          Isaac P. Rabicoff
                                                          isaac@rabilaw.com
                                                          Rabicoff Law LLC
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                                                          Alexandria, VA 22315
                                                          Telephone: (773) 669-4590

                                                          Attorney for WSOU INVESTMENTS,
                                                          LLC d/b/a BRAZOS LICENSING AND
                                                          DEVELOPMENT




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REPRESENTATION ACCEPTED:


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                              CERTIFICATE OF CONFERENCE

       The undersigned attorney certifies that he has conferred with counsel for Defendant on

the 31st day of December, 2020, and they have indicated that they do not oppose this motion and

the substitution of counsel in this matter.

                                              /s/ Isaac P. Rabicoff
                                              Isaac P. Rabicoff




                               CERTIFICATE OF SERVICE

       A true and correct copy of the foregoing instrument was served or delivered electronically

via U.S. District Court [LIVE] — Document Filing System, to all counsel of record, on this 31st

day of December, 2020.



                                              /s/ Isaac P. Rabicoff
                                              Isaac P. Rabicoff




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